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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


Estate of Yael Botvin, et al.           :
                                        :
                 Plaintiffs,            :
      v.                                :   Civil Action No. 1:21-cv-03186 (RCL)
                                        :
Heideman Nudelman & Kalik, P.C., et al. :
                                        :
                 Defendants.            :




                MEMORANDUM OF POINTS AND AUTHORITIES
                  IN SUPPORT OF DEFENDANTS’ MOTION
                   TO DISMISS PLAINTIFFS’ COMPLAINT




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                                        INTRODUCTION

        Plaintiffs are the recipients of judgments exceeding $41 million ($11,704,457 in

compensatory damages and $30,890,000 in punitive damages) against the Islamic Republic of

Iran (“Iran”) arising from the 1997 terrorist murder of Yael Botvin. Yet, they filed this legal

malpractice claim against only one of the three law firms that represented them in their

successful cases. Plaintiffs claim that their counsel failed to obtain their judgments fast enough to

participate in a privately negotiated settlement agreement among various law firms on behalf of

their clients who were creditors with judgments against Iran. Pursuant to that settlement

agreement, those attorneys and judgment creditors agreed to share in a jointly pursued collection

action that Plaintiffs claim would have allowed them to collect a portion of their judgments at an

earlier time. Their legal malpractice complaint, however, imposes an absolute liability standard

on attorneys that clearly contradicts the standard of care required of attorneys in the District of

Columbia. Defendants respectfully submit that this Court should dismiss Plaintiffs’ Complaint in

its entirety.

        Iran’s liability for the attack and the resulting injuries and damages to Plaintiffs, the

Botvin Family,1 were the subjects of three complaints filed by Defendants and their co-counsel

in this Court between 2005 and 2012: Ellis, et al. v. Islamic Republic of Iran, et. al., 1:05-cv-

00220-RCL (“Botvin I”); Goldberg-Botvin, et al. v. Islamic Republic of Iran, et al., 1:08-cv-

00503-RMU (“Botvin II”); and Goldberg-Botvin, et al. v. Islamic Republic of Iran, 1:12-cv-




1
 Plaintiffs (“the Botvin Family”) include: Russell Ellis, the Administrator of the Estate of Yael
Botvin; Yael’s mother, Julie Goldberg-Botvin; and Yael’s two sisters, Michal and Tamar. Mr.
Ellis is also equal co-counsel with the Defendants in representing the Botvin Family.

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01292-RCL (“Botvin III”). See Compl. at ¶¶ 33, 51, 95; Exhibits A-C.2 Plaintiffs won judgments

in Botvin I in 2012 and in Botvin III in 2013 with compensatory damages totaling $11,704,457

and punitive damages of $30.89 million. Exhibit A, Botvin I Doc. 31; Exhibit B, Botvin III Doc.

14. Defendants distilled the key events of the underlying litigation, as described in Sections I and

II, infra, into a timeline included as an Appendix for the Court’s ease of reference.

        The Botvin Family’s judgments were the result of the diligent and professional

representation throughout the underlying litigation by the Botvins’ Lawyers: The Heideman Law

Group, P.C., Perles Law Firm, PC; and Russell Ellis, Esq. Plaintiffs do not complain about the

outcome of the underlying litigation. Nor could they realistically do so as the holders of more

than $41 million in judgments. Notably, they have already recovered over 23.6% of their

compensatory damages judgments through the efforts of Defendants and their co-counsel.

Plaintiffs bring this malpractice action against only one-third of their counsel, challenging only

how long it took to obtain their judgments. Plaintiffs now, with the benefit of hindsight, quibble

with the legal tactics and strategies employed more than a decade ago at various points in the

underlying litigation to speculate that certain different approaches would have resulted in the

same judgments being entered, only at some unspecified earlier point in time. As Plaintiffs

acknowledge in their Complaint, the strategic decision-making of the Botvins’ Lawyers occurred

amidst dramatic changes in decisional case law and groundbreaking legislation that created an

unsettled legal framework for claims like the Botvin Family’s. D.C. law does not require

attorneys to possess supernatural prescience or predict the unpredictable. Plaintiffs’ allegations




2
  For the Court’s ease of reference, Defendants attach as Exhibits A, B, and C to this Motion the
ECF filing dockets for Botvin I, Botvin II, and Botvin III and will cite to the filings therein using
the relevant docket entries as “Botvin I/II/III Doc. ___.” See infra at 21 fn. 15.

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of malpractice are not permitted pursuant to the judgmental immunity doctrine, which is a

complete bar to the Plaintiffs’ claims.

        As to causation, Plaintiffs impermissibly speculate about the potential outcomes of

various alternative strategies to assert that they could have had their judgments earlier, which

arguably would have allowed them to participate in an unforeseeable and unpredictable

collection litigation, which gave rise to an unforeseeable privately negotiated settlement

agreement, which itself was the subject of groundbreaking legislative developments, in order for

the parties to the settlement agreement to recover portions of their judgments against Iran. The

foreseeability and speculation problems with Plaintiffs’ theory are each independent grounds to

dismiss Plaintiffs’ Complaint for failure to adequately allege causation. Together, they mandate

dismissal.

        If the Court finds Plaintiffs have stated a claim for malpractice, which the Defendants

emphatically dispute, Defendants request the Court dismiss the Complaint for Plaintiffs’ failure

to join the two other law firms that Plaintiffs jointly engaged at the outset of the litigation and

who served and worked together as Defendants’ equal co-counsel, Perles Law Firm, PC, and

Russell Ellis, Esq., both of whom are required parties under Federal Rule of Civil Procedure 19.

    I. UNDERYLING LITIGATION
        Three Hamas suicide bombers detonated explosives along the Ben Yehuda Street Mall in

Jerusalem, Israel, on September 4, 1997. Compl. ¶ 1. They murdered four people, including Yael

Botvin, a 14-year-old high school student living with her mother and two sisters in Jerusalem. Id.

¶¶ 3, 5. She was a dual citizen of the United States and Israel. Id. ¶ 5. Other victims of the same

attack sued under the 1976 Foreign Sovereign Immunities Act, 28 U.S.C. § 1604 (FSIA),3 in the


3
  Generally, foreign states are immune from lawsuits in U.S. courts under the FSIA, unless a
statutory exception to immunity applies. 1996 legislation created 28 U.S.C. § 1605(a)(7) to
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U.S. District Court for the District of Columbia in 2000 and 2001. Id. ¶ 27. The Botvin Family

was not a party in the initial Ben Yehuda Street Mall Attack lawsuit and did not retain

Defendants and their co-counsel at that time. Id. ¶¶ 27-28. Hon. Ricardo Urbina took evidence

for four days in September 2003 on Iran’s providing terrorist training and economic assistance to

Hamas. Id. ¶ 27. He found that Iran’s provision of material support for Hamas made Iran liable

for those plaintiffs’ damages arising from the Ben Yehuda Street Mall bombing. Id. He awarded

compensatory and punitive damages in a default judgment against Iran. Id.; Campuzano v. Iran,

281 F. Supp. 2d 258 (D.D.C. 2003).

        More than six years after Yael’s murder and about three-and-a-half years after the

Campuzano complaint, Yael’s mother, Julie Goldberg-Botvin, executed a retainer agreement in

February 2004 to engage the Botvins’ Lawyers. Compl. ¶ 28; see also Retainer Agreement,

Exhibit D.4 The retainer agreement provides that, in addition to Defendant Heideman Nudelman

& Kalik, P.C., Perles Law Firm, P.C. (headed by the highly-regarded FSIA terrorism claim

practitioner, Steven R. Perles, Esq.) and Mr. Ellis would each serve as co-counsel in pursuing

claims resulting from Yael Botvin’s murder. Pursuant to the agreement, each of the Botvins’

Lawyers agreed to “give equal services and effort” in exchange for each receiving an equal one-

third of the attorneys’ fees.




provide an additional exception to sovereign immunity as well as the “Flatow Amendment”
creating a private right of action for terrorism victims under certain circumstances.
4
  To the extent the terms of the Retainer Agreement are outside the pleadings, despite the
reference to the retention in the Complaint, Defendants state that they are not relying on these
terms in connection with their Rule 12(b)(6) dismissal arguments. The retainer terms are,
however, relevant to Defendants’ Rule 12(b)(7) arguments in Section III infra at 38. These facts
are included here for a cohesive chronology of events and do not convert this motion to one for
summary judgment.

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            A. Botvin I, Early Litigation under § 1605(a)(7), 2005-2008

        Together, the Botvins’ Lawyers filed their first complaint on behalf of the Botvin Family

in the U.S. District Court for the District of Columbia in January 2005. Compl. ¶ 32; Exhibit A,

Botvin I Doc. 1. The plaintiffs to the complaint were Yael’s Estate, through its personal

representative, Mr. Ellis, Yael’s mother, Julie, and Yael’s two sisters, Tamar and Michal. Exhibit

A, Botvin I Doc. 1. The complaint asserted common law causes of action: wrongful death,

survival, intentional infliction of emotional distress, solatium, and punitive damages. Id. The

Botvin I complaint also cited 28 U.S.C. § 1605(a)(7) for jurisdiction, but the Botvins’ Lawyers

carefully drafted the Botvin I complaint to avoid relying exclusively on § 1605(a)(7) or the

Flatow Amendment as the source of a cause of action against Iran. Id.

        The Botvins’ Lawyers drafted the Botvin I complaint to avoid problems arising from a

D.C. Circuit opinion that changed numerous aspects of the law involving victims of terror,

Cicippio-Puleo v. Iran, 353 F.3d 1024 (D.C. Cir. 2004). This decision, which the court issued

between the time when Judge Urbina entered the Campuzano decision and when the Botvin

Family engaged their lawyers,5 held that there was no federal cause of action against foreign

state sponsors of terrorism in the FSIA. This decision was a material change in the law, and it

created serious new obstacles to victims seeking recovery. Following this appellate decision,


5
  There are many reasons the comparisons Plaintiffs attempt to make in their Complaint to other
litigation, allegedly similar to theirs, are inappropriate attempts to “compare apples and oranges.”
In addition to the cases involving different parties and different facts and evidence, they were
assigned to different judges and were litigated at different times in the changing legal landscape
for FSIA terrorism cases. As noted above, Campuzano and Rubin, referenced by Plaintiffs in ¶
30 of their Complaint, were filed and decided entirely before the landmark Cicippio-Puleo
decision by the D.C. Circuit. At the other end of the spectrum, Salzman, referenced by Plaintiffs
in ¶ 31 of their Complaint, was filed almost a decade after Congress passed legislation creating
an entirely new federal cause of action that was intended as a legislative “fix” for fall out from
the Cicippio-Puleo decision. As any seasoned litigator knows, the outcome in one case does not
guarantee a similar outcome in another case.

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plaintiffs in FSIA terrorism cases had to use § 1605(a)(7) as a “pass through” to causes of action

in state tort law; usually under the law of the victim’s domicile at the time of the terrorist attack.

See e.g., In re Islamic Republic of Iran Terrorism Litig., 659 F. Supp. 2d 31, 60-61 (D.D.C.

2009) (describing FSIA terrorism litigation following Cicippio-Puleo as “cumbersome and

tedious in practical application” and requiring additional steps for judicial resolution, including

“choice of law problems” and “a lengthy analysis of tort claims under the laws of numerous

different state jurisdictions”). At the time they filed suit for the Botvin Family, the Botvins’

Lawyers’ tactical approach reflected the challenges arising from the recent Cicippio-Puleo

decision. There was no way at the time of filing Botvin I that the Botvins’ Lawyers could foresee

that Congress would pass legislation three years later to create a new federal cause of action for

terrorism victims like the Botvin Family. Nor could they foresee how different judges might

interpret and apply this new statute. And they could not foresee that there would be a novel

collection action five years later giving rise, after years of additional litigation, to a privately

negotiated settlement agreement among certain judgment creditors of Iran.

        After filing the Botvin complaint, the Botvins’ Lawyers properly served Iran, Compl.

¶ 34, which did not appear to defend the litigation. The Botvins’ Lawyers filed a motion on

September 13, 2005, seeking entry of default under Federal Rule of Civil Procedure 55(a),

Compl. ¶ 35, Exhibit A, Botvin I Doc. 5. Rule 55(a) permits showing a defendant’s failure to

plead or otherwise defend “by affidavit or otherwise.” The motion showed – citing statutes, case

law, and exhibits – that the Botvins’ Lawyers completed service on Iran, which failed to answer.

Exhibit A, Botvin I Doc. 5. After ten months without default being entered, the Botvins’ Lawyers

filed a renewed motion for entry of default. Exhibit A, Botvin I Doc. 9. This motion respectfully

renewed the prior pending request for entry of default and provided the court with numerous



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examples of similar cases against Iran in which the court entered default after precisely the

method of service the Botvins’ Lawyers used in Botvin I. Exhibit A, Botvin I Doc. 9.

        Judge Urbina entered a minute order striking both the original motion and the renewed

motion and instructing that the request be made to the clerk, not the court. Compl. ¶ 36, Exhibit

A, Botvin I at unnumbered 7/20/06 entry. The Botvins’ Lawyers promptly filed the request, re-

styled as an affidavit, and the clerk entered default in July 2006. Compl. ¶ 40, Exhibit A, Botvin I

Docs. 11-13. The Botvins’ Lawyers filed a motion for default judgment in October 2006. Compl.

¶ 42,6 Exhibit A, Botvin I Doc. 14. The Botvins’ Lawyers asked the court to take judicial notice

of the findings in the Campuzano case and enter judgment on liability against Iran for the injuries

to the Botvin Family. Exhibit A, Botvin I Doc. 14. They requested that, after entering a judgment

on liability, the court set a hearing to take damages evidence and order a choice of law briefing.

Id. at 3, Exhibit A, Botvin I Doc. 14-2.

        Judge Urbina took over 11 months to issue his decision.7 Exhibit A, Botvin I Doc. 16. He

took judicial notice in his September 2007 order of his findings and conclusions in Campuzano

and determined those findings were sufficient to establish Iran’s liability to the Botvin Family.

Id. Judge Urbina declined to enter a default liability judgment at that time. Id. Rather, he ordered

the Botvin Family to submit evidence to establish the impact of the attack and Yael’s death on

each of them to prove their damages. Id.

6
  Plaintiffs’ Complaint mis-numbers the motions filed on behalf of the Botvin Family to obtain
default judgment, erroneously counting the September 2005 motion for entry of default as the
first. Here, the motions for default judgment are appropriately referred to in sequence as numbers
one through five, with the October 2006 motion being the first.
7
  Plaintiffs characterize references to the amount of time it took for the court to issue decisions
on the motions filed in the underlying litigation as an attempt to “shift blame.” Compl. ¶¶ 39,
116. It is well known by all attorneys who regularly practice before this Court, including
Defendants, that the judges of this Court have a tremendous workload. The time to decision is an
objective fact highly relevant to this lawsuit claiming that Plaintiffs could have obtained their
judgments earlier.

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        While the Botvins’ Lawyers were assembling the requested damages evidence, Congress

passed an amendment to the FSIA, creating 28 U.S.C. § 1605A, a federal cause of action for

claims like the Botvin Family’s in direct abrogation of the Cicippio-Puleo decision. Compl. ¶ 48.

The law creating §1605A8 described how pending and prior actions under the post-Cicippio-

Puleo “pass through” framework using § 1605(a)(7) became eligible for retroactive treatment

under § 1605A. Pub. L. No. 110-181, § 1083(c)(2) and § 1083 (c)(3). § 1083(c)(2) outlined the

criteria for a pending case to procced under § 1605A. Specifically, it must rely on § 1605(a)(7)

or the Flatow Amendment as creating a cause of action, and the case must have been adversely

affected insofar as these provisions failed to create a cause of action against the foreign state. If a

pending case met these criteria, then, on the plaintiffs’ motion, the court had to treat the action as

one originally filed under § 1605A. Alternatively, under § 1083 (c)(3), a plaintiff could file a

§ 1605A action, within 60 days of the enactment of § 1605A or within 60 days of obtaining a

judgment on a § 1605(a)(7) “pass through” claim.

        Amidst this sea change, the Botvins’ Lawyers timely completed and submitted another

motion for default judgment as to the Botvin Family’s damages in March 2008. Compl. ¶ 62,

Exhibit A, Botvin I Docs. 17-18. The Botvins’ Lawyers submitted the Botvin Family was entitled

to damages under California law as the last place of their residence in the United States. Exhibit

A, Botvin I Doc. 17. This motion included deposition testimony from Yael’s family. Id. The

Botvins’ Lawyers also provided documentation showing the medical intervention Yael received,

which suggested that she survived the bombing for some period of time. Id. The Botvins’

Lawyers also provided an expert report on Yael’s lost earning capacity. Id. Importantly, the



8
 Defense Authorization Act for Fiscal Year 2008, Pub. L. No. 110-181, § 1083, 122 Stat. 3,
passed January 21, 2008, codified at 28 U.S.C. § 1605A.

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motion also specifically sought, pursuant to § 1083(c)(2), that the Botvins’ action proceed under

the new § 1605A. Id.; Compl. ¶ 63.

        As an additional measure to obtain the benefits of § 1605A, and out of an abundance of

caution considering the novelty of the law, the Botvins’ Lawyers also timely filed a new

complaint under this new cause of action. Compl. ¶ 51, Exhibit B, Botvin II, Doc. 1. The

Botvins’ Lawyers timely took both the actions of (i) moving to convert the pending action and

(ii) filing a new action fully within the limited 60-day window of opportunity allowed under the

statute to elect the benefits of § 1605A. Exhibit A, Botvin I Doc. 17 (March 21, 2008); Exhibit B,

Botvin II, Doc. 1 (March 24, 2008). As this Court later described, in the time period following

enactment of § 1605A, there was “a good deal of confusion regarding how parties should avail

themselves of the benefits of the new statute.” In re Terrorism Litig., 659 F. Supp. 2d at 67. The

approach of the Botvins’ Lawyers of both filing a motion to convert the case from § 1605(a)(7)

to § 1605A in a pending case and also filing a new complaint was considered the “‘belt and

suspenders’ approach… taken out of an abundance of caution” to take advantage of the new law.

Id. at 66.

        Judge Urbina took more than a year to decide the second motion.9 Compl. ¶ 64; Exhibit

A, Botvin I Doc. 21. He denied the motion in March 2009 without prejudice and requested a

renewed motion within two months that included briefing on the applicable law governing the

Botvins’ claims. Id. Notably, when deciding the Campuzano case prior to the Cicippio-Puleo

decision, Judge Urbina had not engaged in a choice of law analysis. Rather, his Campuzano

decision relied on the FSIA – specifically, the Flatow Amendment – as the basis for liability,


9
  When 11 months had passed with no decision, the Botvins’ Lawyers requested a status hearing,
hoping to move the case forward. Exhibit A, Botvin I Doc. 19. Judge Urbina denied the request
for a status hearing the same day it was filed. Exhibit A, Botvin I unnumbered entry on 2/26/09.

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while briefly noting Iran was also liable for some common law claims without analysis,

“considering it to be redundant with the FSIA liability analysis.” Campuzano, 281 F. Supp. 2d at

271. Judge Urbina applied a different standard to the Botvins’ claims than he had in Campuzano,

considering the intervening emergence of confusing issues in the law. The Botvin Family’s case

proceeded in unsettled legal territory and required a different strategy and tactics. This is yet

another reason, see supra at 5, fn. 5, why Plaintiffs’ frequent comparisons to the litigation

process and timeline in Campuzano in their Complaint are speculative and inapposite.

            B. § 1605A Claim Denied, Governing Future Litigation, 2009-2011

        Importantly, Judge Urbina’s March 2009 order denied the Botvins’ motion to convert the

case to one under § 1605A. Compl. ¶ 65; Exhibit A, Botvin I Doc. 21. He ruled the statutory

requirements for retroactive application of § 1605A were not met as the Botvin I complaint did

not rely on the 1996 Amendments to the FSIA as creating a cause of action. Id. Being the

diligent lawyers in this field that they are, and with knowledge of the Cicippio-Puleo decision,

the Botvins’ Lawyers drafted the Botvin I complaint to avoid relying exclusively on § 1605(a)(7)

or the Flatow amendment. Consequently, Judge Urbina did not think the case had been adversely

affected on the grounds that these provisions did not create a cause of action. Id.

        The same day he issued his decision denying the second motion for default judgment,

Judge Urbina issued a minute order in Botvin II, directing plaintiffs to show cause within one

week why the court should not dismiss the second suit for failure to prosecute. Compl. ¶ 53;

Exhibit B, Botvin II, unnumbered entry dated 3/27/09. As this Court described, the option for

filing a new § 1605A complaint “is the appropriate avenue for relief in those cases that reached

final judgment sometime prior to the enactment of [§ 1605A] and which were not ‘before the

court in any form,’” as required for a motion to convert the case to one under § 1605A. In re



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Terrorism Litig., 659 F. Supp. 2d at 92. Thus, the Botvins’ Lawyers concluded that pursuing the

new complaint they had filed out of an abundance of caution was a path that contradicted Judge

Urbina’s decision and intention to proceed under § 1605(a)(7). At this time, the Botvins’

Lawyers made a professional judgment about the best and most expedient course forward to

obtain a final monetary judgment for the Botvin Family considering Judge Urbina’s decision that

the Botvin Family’s claims should proceed under § 1605(a)(7) rather than under § 1605A. See

Argument, Section I, infra at 22.

        In light of Judge Urbina’s decision rejecting the Botvins’ Lawyers attempts to convert the

case a § 1605A claim, and believing that the best and most expedient route to secure and

maximize a monetary award for the Botvin Family was to continue the original litigation, Botvin

I, the Botvins’ Lawyers timely filed a third motion for default judgment in May 2009 to address

the issues Judge Urbina raised in his most recent opinion. Compl. ¶ 71; Exhibit A, Botvin I Doc

22. In the motion, the Botvins’ Lawyers advocated that D.C. choice of law principles warranted

application of California law to the Botvins’ claims on the grounds that Yael was born in

California and, prior to their move to Israel, California was the Botvins’ last residence in the

United States. Id. at 5-13. California also provided favorable law to maximize the potential

damages the Botvins could recover in a default judgment and did not differ significantly from the

compensatory damages recoverable in a § 1605A action.10 The motion cited an on-point 2007

district court decision in an FSIA terrorism exception case, Oveissi v. Iran, 498 F. Supp. 2d 268

(D.D.C. 2007), in which the court applied California law based on the plaintiff’s place of birth



10
  Defendants acknowledge that there is a difference in availability of punitive damages under §
1605(a)(7) as compared to § 1605A. However, Plaintiffs’ malpractice claims raise no issues
about their punitive damages judgments, and there remains no mechanism to collect punitive
damages awards against Iran.

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and short-term residence in California, prior to moving abroad to France, where the terrorist act

occurred. Exhibit A, Botvin I Doc 22 at 10.

        After eight months, in February 2010, Judge Urbina ruled on the third default motion,

finding both subject matter and personal jurisdiction established, but rejecting the efforts to apply

California law. Compl. ¶ 79, Exhibit A, Botvin I Docs 23-24. Instead, he ruled that Israeli law

applied to the Botvins’ claims because the bombing took place in Israel, where the Botvins were

domiciled at the time. Exhibit A, Botvin I Docs 24. For his decision that Israeli law applied, he

wrote that he was “constrained” by the D.C. Circuit opinion overturning the Oveissi decision and

holding French law rather than California law applied in that case. Id. at 2. The Circuit Court

issued the Oveissi appellate decision two months after the Botvins filed their third motion for

default judgment, see Oveissi v. Islamic Republic of Iran, 573 F.3d 835 (D.C. Cir. 2009). Judge

Urbina explained, “the Circuit’s recent decision . . . cast[s] significant doubt on” the choice of

law analysis favoring California law. Exhibit A, Botvin I Docs 24 at 8. Judge Urbina again

declined to enter default judgment and required Plaintiffs to renew their motion addressing the

elements of each claim and the Botvins’ entitlement to judgment under Israeli law. Id. at 12

        The Botvins’ Lawyers then retained two Israeli legal experts who provided affidavits

outlining the Botvins’ entitlement to judgment and damages under Israeli law. Exhibit A, Botvin

I Doc. 26 at 2 and Exhibit 1. They filed a fourth motion for default judgment in July 2010

providing the court with the analysis requested under Israeli law. Compl. ¶ 81, Exhibit A, Botvin

I Doc. 26. In addition, the Botvins’ lawyers also urged the court to reconsider its choice of law

ruling and again argued that California law or blended California and Israeli or D.C. law applied,

particularly to the damages analysis. Exhibit A, Botvin I Doc. 26 at 5-11. In so doing, they




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distinguished the recent D.C. Circuit authority in Oveissi on which Judge Urbina relied for his

choice of law ruling.11 Id. at 8-10.

        Over eight months later, in March 2011, Judge Urbina denied the fourth motion to enter

default judgment. Compl. ¶ 82; Exhibit A, Botvin I Docs 27-28. Again, he rejected the arguments

to apply California or D.C. law and confirmed his conclusion that Israeli law applied to the

Botvins’ claims. Exhibit A, Botvin I Doc 28 at 6-12. Notwithstanding the experts’ affidavits on

many aspects of Israeli law on the claims before him, including authority for vicarious liability

under Israeli law, see Exhibit A, Botvin I Doc. 26 at 12, Judge Urbina denied the motion because

he wanted more evidence of Israel’s vicarious liability doctrine. Exhibit A, Botvin I Doc 28 at

15-19. Specifically, he requested additional briefing on whether Iran was vicariously liable for

the bombing under Israeli law without any evidence that Iran had expressly authorized or ratified

the specific attack. Id. This effectively reversed his decision of three and a half years earlier, see

Exhibit A, Botvin I Doc. 16 at 2, that his 2003 findings and conclusions in Campuzano were

sufficient to establish Iran’s guilt in perpetrating the bombing that killed Yael.

            C. Entry of Judgments, 2012-2013

        Within six months, the Botvins’ lawyers filed their fifth motion for default judgment.

Compl. ¶ 88; Exhibit A, Botvin I Doc. 30. To prepare this motion, they retained another Israeli

legal expert to prepare a report addressing Judge Urbina’s most recent questions as to Israel’s

vicarious liability doctrine. Exhibit A, Botvin I Doc. 30. As the fifth motion was pending, the

court reassigned the Botvin case from Judge Urbina, who denied the Botvin Family’s four prior

motions for default judgment and planned to retire. Exhibit A, Botvin I unnumbered 4/25/12

entry. In July 2012, this Court entered default judgment for compensatory damages to Yael’s

11
  The Botvins’ Lawyers had not had a prior opportunity to address Oveissi because the appellate
decision was issued after they filed the third motion for default judgment.

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estate for $1,704,457 in lost income. Compl. ¶ 89, Exhibit A, Botvin I Docs. 31-32. It did not

award any emotional distress or solatium damages to Yael’s family because the Court did not

find Israeli legal authority supported such an award. Exhibit A, Botvin I Doc. 32 at 19-20.

        One month after this Court entered judgment for Yael’s estate, the Botvins’ Lawyers filed

another complaint on behalf of the Botvins asserting a claim under § 1605A arguing that the

federal cause of action recognized solatium damages for near-family members and punitive

damages. Compl. ¶ 95, Exhibit C, Botvin III Doc. 1. Such a filing following the Botvin I

judgment was permitted by Pub. L. No. 110-181, § 1083(c)(3), which limits separate § 1605A

complaints when related actions were commenced under § 1605(a)(7) to those brought within 60

days of the 2008 enactment of § 1605A or within 60 days of the date of the entry of judgment in

the original § 1605(a)(7) action. Again, Plaintiffs served Iran, which failed to appear. Exhibit C,

Botvin III Doc. 10. The Botvin Family moved for default judgment against Iran in March 2013,

and this Court granted the motion. Compl. ¶ 96, Exhibit C, Botvin III Docs 13-15. Under the

§ 1605A federal cause of action, the Court awarded $10 million in solatium damages: $5 million

to Yael’s mother and $2.5 million to each of her two sisters. Exhibit C, Botvin III Doc. 15 at 12.

The Court also awarded $30.89 million in punitive damages based on the compensatory to

punitive damages ratio in the Campuzano case. Exhibit C, Botvin III Doc. 15 at 12-14. This

Court entered a default judgment in Botvin III against Iran on April 4, 2013. Compl. ¶ 96,

Exhibit C, Botvin III Doc. 14.

        The Botvins’ Lawyers obtained recovery of a portion of their clients’ judgments,

$2,772,785.80 from the U.S. Victims of State Sponsored Terrorism Fund.12 See Exhibit A,



12
  Notably, if Plaintiffs had been part of the Peterson settlement agreement and collected a
portion of their judgments from that action, as they are now alleging they should have been, they
would have been ineligible for the recovery from the USVSST Fund that they have now
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Botvin I Doc. 47; Exhibit C, Botvin III Doc. 28.13 In addition, the Botvin Family remains eligible

for future distributions from the USVSST Fund, 34 U.S.C. § 20144(c)(4), and therefore it is

possible they may be able collect their entire compensatory judgment from the USVSST Fund or

other sources.

II. PETERSON PLAINTIFFS’ COLLECTION EFFORTS                             AND     SETTLEMENT
     AGREEMENT

        In 2007, this Court awarded more than $2.6 billion against Iran to family members of

deceased servicemen and injured survivors of the 1983 suicide bombing attack on the U.S.

Marine Barracks in Beirut, Lebanon in Peterson v. Iran, 515 F. Supp. 2d 25 (D.D.C. 2007);

Compl. ¶ 72. Defendants were not counsel in Peterson. See generally Peterson v. Islamic Rep. of

Iran, 220 F. Supp. 3d 98, 101 (D.D.C. 2016) (describing counsel and their contingency

agreement). Counsel for the Peterson plaintiffs made several unsuccessful attempts at post-

judgment enforcement, seeking to locate and attach Iranian assets. See, e.g,, Peterson v. Iran,

563 F. Supp. 2d 268 (D.D.C. 2008) (quashing writs of attachment on three foreign banks that

allegedly possessed Iranian assets and denying motions for the appointment of receivers);

Peterson v. Islamic Republic of Iran, 627 F.3d 1117 (9th Cir. 2010) (affirming 2008 denial of

motion to assign Iran’s rights to payment from third-party defendant shipping company);

Peterson v. Islamic Republic of Iran, 561 F. App’x 9 (D.C. Cir. 2014) (describing 2008 writs of

attachment on another foreign bank and subsequent unsuccessful efforts to obtain sanctions).


received. See 34 U.S. Code § 20144(e)(2)(B)(iii) (only permitting Peterson judgment creditors to
participate in the USVSST Fund if they irrevocably assign to the Fund all of their rights, title,
and interest in their claims to the Peterson assets).
13
   The cited motions each describe, at paragraph 4, that a portion of Plaintiffs’ judgments was
recovered from the USVSST Fund, and, at paragraphs 4, 5, and 7, that the $693,200.49 at issue
in that motion was 25% of the amount paid from the USVSST Fund. See Exhibit A, Botvin I
Doc. 47; Exhibit C, Botvin III Doc. 28. From this, the Court may take judicial notice that the
USVSST Fund recovery amount was over $2.77 million ($693,200.49 ÷ .25).

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        In another effort to collect their judgments, the Peterson plaintiffs pursued litigation in

the U.S. District Court for the Southern District of New York to attach the assets in a Citibank

account that Bank Markazi, the Central Bank of Iran, allegedly owned. Compl. ¶ 73; Peterson v.

Islamic Republic of Iran, 1:10-cv-04518-LAP (S.D.N.Y) (hereinafter “Peterson litigation”). The

Peterson plaintiffs ultimately succeeded in this effort to secure turnover of the Clearstream

assets, but only after years of contested litigation and the 2012 passage of legislation to eliminate

many of the hurdles that otherwise existed. Through the Peterson litigation, it was eventually

established that Bank Markazi, the Central Bank of Iran, owned over $2 billion in U.S. bonds

held with Clearstream S.A., a Luxembourg-based financial intermediary for transactions between

banks. Bank Markazi v. Peterson, 578 U.S. 212, 222 (2016). Clearstream maintained an account

at Citibank in New York, and the proceeds of the Markazi Bonds (the last of which matured in

2012) were credited to Clearstream’s Citibank account. Id. Whenever Clearstream’s Citibank

account was credited, Clearstream would credit Bank Markazi’s Clearstream account

accordingly. Id. In 2008, Bank Markazi added another layer of insulation by involving an Italian

bank with a Clearstream account as an intermediary in these transactions and making the Italian

bank the owner, in name, of the Markazi Bond proceeds. Id.

        The Peterson plaintiffs registered their judgments in New York and obtained a writ of

execution, levied on Citibank on June 13, 2008, restraining the proceeds from the Markazi Bonds

in Clearstream’s Citibank account. Compl. ¶ 73. The assets in the account, which Plaintiffs

allege to be a “vast trove” of over $1.8 billion, Compl. ¶ 73, would not be sufficient to satisfy the

Peterson plaintiffs’ more than $2.6 billion in judgments against Iran, even if they could win the

uphill battle to recover the assets.




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        On June 8, 2010, the Peterson plaintiffs filed their complaint seeking turnover of the

blocked assets. Bank Markazi and Clearstream, the defendants in the Peterson litigation, fought

turnover of the bond assets and “filled the proverbial kitchen sink with arguments.” Bank

Markazi, 578 U.S. at 223. Meanwhile, other claimants with judgments against Iran joined in the

Peterson litigation through a variety of procedural mechanisms, including motions to intervene

and interpleader motions. Compl. ¶¶ 74-76; Bank Markazi, 578 U.S. at 221 fn.9. Notably, some

of the joined claimants were dismissed because they had not yet obtained judgments against Iran.

Id. at 219 fn.5. In total, there were at least 16 different groups of judgment creditors (many of the

groups representing hundreds of individual plaintiffs) against Iran in the Peterson litigation who

held judgments for compensatory damages exceeding a total of $3.745 billion fighting for

distribution of any recovery of the limited Clearstream assets. Compl. ¶¶ 75, 93; Bank Markazi,

578 U.S. at 219 & fn.5. If they were able to succeed in obtaining recovery of the blocked assets,

these thousands of plaintiffs could expect extensive infighting amongst themselves with

challenges to the amount, validity, or priority of the judgments or their right to execute on their

judgment against the blocked assets.

        The Peterson plaintiffs filed for partial summary judgment in April 2012, which

Clearstream and Bank Markazi opposed. Bank Markazi, 578 U.S. at 223. While the motion was

pending, on June 1, 2012, the Peterson plaintiffs entered into a privately negotiated settlement

agreement with the other judgment creditors who had joined in the Peterson litigation to govern

the distribution of any assets that may ultimately be recovered in the Peterson litigation. Compl.

¶ 91. Per the settlement agreement, percentages were calculated based on the pro rata share of

each group’s compensatory damages award against the total $3.745 billion in judgments for




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compensatory damages obtained for all parties to the agreement. Compl. ¶ 93. No judgment

creditors without a judgment were included in the settlement agreement. Compl. ¶ 113.

        When the settlement agreement was executed, it was not certain, or even predictable,

whether the efforts to obtain a turnover order and recover any funds would succeed; or, if so,

when that might occur. See Argument, Section II.A, infra at 31. While the motion for partial

summary judgment was pending, and after the settlement agreement was reached, on August 10,

2012, Congress passed legislation crucial to the Peterson plaintiffs’ success, which specifically

referenced the blocked assets at Citibank at issue in the Peterson litigation by docket number and

with dates of the relevant court orders. 22 U.S.C. § 8772(b); Iran Threat Reduction and Syria

Human Rights Act of 2012, Pub. L. No. 112-158, passed August 10, 2012. This Act expressly

subjected the Bank Markazi Citibank accounts to execution or attachment to satisfy a

compensatory damages award against Iran for terrorist acts it sponsored with a judicial

determination that Iran alone held equitable title or beneficial interest in the assets. 22 U.S.C.

§ 8772(a)(2). The Peterson plaintiffs supplemented their pending motion for partial summary

judgment with this additional authority. Bank Markazi, 578 U.S. at 221-22.

        In accordance with the newly enacted statute and finding no triable issue of fact as to

whether Bank Markazi owned the blocked assets, the district court in Peterson ordered in March

2013 that the assets be turned over. Id. at 224. As the district court described it, the legislation

swept away “any federal or state law impediments that might otherwise exist.” Id. at 223. The

next three years saw appellate litigation in which Bank Markazi challenged the validity of §

8722. The Second Circuit and the U.S. Supreme Court affirmed the district court’s turnover

order, and distribution of the Clearstream assets to the parties to the settlement agreement began

in 2016. Compl. ¶ 107. Having waited more than ten years to complain, and despite their receipt



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of payments from the USVSST Fund, Plaintiffs now allege that Defendants should have taken

certain actions in 2008 and 2009 in anticipation of this unpredictable 2016 litigation outcome,

which was the result of a privately negotiated settlement agreement reached, years later, in 2012.

As shown below, these allegations made in retrospect fail to adequately state a claim for legal

malpractice and are otherwise barred.

                                      LEGAL STANDARDS

    I. DISMISSAL UNDER RULE 12(b)(6)
        As the United States Supreme Court has held in two rulings that strengthened the hand of

district courts in weeding out tenuous claims at the pleading stage—especially claims that

promise to require highly intrusive, time-consuming discovery and other pretrial proceedings—

to survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must set forth a

“‘claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The “plausibility standard”

established by the Supreme Court “asks for more than a sheer possibility that a defendant has

acted unlawfully,” and “[w]here a complaint pleads facts that are ‘merely consistent with’ a

defendant’s liability, it ‘stops short of the line between possibility and plausibility of ‘entitlement

to relief.’’” Id. (quoting Twombly, 550 U.S. at 557).

        The Supreme Court has also instructed that a “pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do,’” and

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555). Hence,

“[d]etermining whether a complaint states a plausible claim for relief will . . . be a context-

specific task that requires the reviewing court to draw on its judicial experience and common

sense.” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

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        The Court is “not bound to accept as true a legal conclusion couched as a factual

allegation.” Twombly, 550 U.S. at 555 (internal quotations omitted); see also Iqbal, 556 U.S. at

678 (“the tenet that a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions”). “[W]here the well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged – but it has not

‘shown’ – ‘that the pleader is entitled to relief.’” Iqbal, 556 U.S. at 679 (quoting Fed. R. Civ. P.

8(a)(2)) (internal editing omitted).14

        Even under the “generous” standard afforded under Rule 12(b)(6), Plaintiffs’ Complaint

fails to set forth a legal theory upon which relief can be granted against Defendants. For the

myriad reasons enumerated below, the pleadings do not set forth a “claim for relief that is

plausible on its face” against Defendants and therefore the Complaint must be dismissed with

prejudice.

        In connection with this Motion, Defendants attach and cite several documents that this

Court may consider under Rule 12(b)(6) without converting the motion to one for summary

judgment because Plaintiffs’ Complaint specifically references and incorporates these matters,

such as the Court’s docket, filings, and legal rulings in the underlying cases, which constitute

matters of public record. See, e.g., Compl. ¶¶ 33, 40, 44, 51, 95; see Covad Comm. Co. v. Bell

Atl. Corp., 407 F.3d 1220, 1222 (D.C. Cir. 2005) (a “court may look to [the] record of another




14
   This Court has relied on Iqbal and Twombly to dismiss legal malpractice complaints that fail to
state a claim. See, e.g., United States Telesis, Inc. v. Ende, 64 F. Supp. 3d 65 (D.D.C. 2014)
(dismissing legal malpractice complaint for failure to adequately allege attorney’s conduct
caused damages); Venable LLP v. Overseas Lease Grp., Inc., No. 14-02010 (RJL), 2015 U.S.
Dist. LEXIS 98650, at *10 (D.D.C. July 27, 2015) (dismissing as speculative legal malpractice
claim on 12(b)(6) motion); Macktal v. Garde, 111 F. Supp. 2d 18, 22 (D.D.C. 2000) (dismissing
legal malpractice complaint for lost settlement value and denying leave to amend complaint).

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proceeding ‘to avoid unnecessary proceedings when an undisputed fact on the public record

makes it clear that the plaintiff does not state a claim upon which relief could be granted.’”).15

        Thus, for example, in assessing whether the chronology of the underlying litigation

supports the exercise of professional judgment in an unsettled legal landscape, the Court should

take into account the multiple developments in the law that created the complicated context for

the Botvin Family’s claims. The fluctuations in the law necessarily affected the various strategies

the Botvins’ Lawyers reasonably employed to comprehend, analyze, and advocate to the Court in

a timely manner, as did Judge Urbina’s various orders for supplemental briefing and legal

analysis, with which Defendants complied in a timely manner at every stage of the proceedings.

The context for the Plaintiffs’ speculative claims with respect to collection of judgments against

Iran as a state sponsor of terror is also critical because it demonstrates the absence of proximate

causation and the lack of the required “but for” connection between Defendants’ legal

representation and any alleged injury.




15
   It is well-established that the Court may, in granting a Rule 12(b)(6) motion, take judicial
notice of procedural developments as well as pleadings and exhibits in related cases without
converting a motion to dismiss into a motion for summary judgment. See Jovanovic v. US-
Algeria Bus. Council, 561 F. Supp. 2d 103, 107 n.1 (D.D.C. 2008) (a court may rely on exhibits
that were “public record information” from a party’s filing in another matter without converting
a motion to dismiss into a motion for summary judgment). Accordingly, in ruling on the motion
to dismiss here, this Court may take judicial notice of developments, filings and exhibits
admitted into evidence in the underlying Botvin I, II, and III cases without converting the motion
into one for summary judgment. See also Veg-Mix, Inc. v. U.S. Dep’t of Agric., 832 F.2d 601,
607 (D.C. Cir. 1987) (“It is settled law that the court may take judicial notice of other cases
including the same subject matter or questions of a related nature between the same parties.”);
Truesdale v. U.S. Dep’t of Justice, 657 F. Supp. 2d 219, 224 n.2 (D.D.C. 2009) (“The Court may
take judicial notice of the records of another court.”); United States ex rel. New v. Rumsfeld, 350
F. Supp. 2d 80, 88 (D.D.C. 2004) (“The Court may, however, take judicial notice of matters of a
general public nature, such as court records, without converting the motion to dismiss into one
for summary judgment.”).

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    II. LEGAL MALPRACTICE CLAIMS
        The District of Columbia does not impose an absolute liability standard on attorneys. To

prevail in their legal malpractice claim, Plaintiffs must prove by a preponderance of evidence the

applicable standard of care; that this standard was violated; and that there was a causal

relationship between the violation and the harm alleged. O’Neil v. Bergan, 452 A.2d 337, 341

(D.C. 1982). Critically, matters of professional judgment are subject to the “judgmental

immunity doctrine.” This doctrine recognizes that “an informed professional judgment made

with reasonable care and skill cannot be the basis of a legal malpractice claim.” Biomet Inc. v.

Finnegan Henderson LLP, 967 A.2d 662, 666 (D.C. 2009). “Professional judgment” refers to

when a lawyer makes a strategic choice between two options, each of which has costs and

benefits. Seed Co. v. Westerman, 832 F.3d 325, 337 (D.C. Cir. 2016).

        Moreover, an essential element of a legal malpractice claim is that the attorney’s

negligence resulted in and was the proximate cause of a loss to the client. In this context,

proximate cause requires proof that the “case within the case” would have succeeded. Jacobsen

v. Oliver, 451 F. Supp. 2d 181, 187 (D.D.C. 2006). A legal malpractice plaintiff is said to have

multiple burdens of proof and must present two cases: (1) “one showing that his attorney

performed negligently”; and (2) a second or underlying predicate case, “showing that [plaintiff]

had a meritorious claim that he lost due to his attorney’s negligence.” Id. If the plaintiff cannot

establish that he or she would have “fared better” in the absence of the attorney’s negligence,

then the plaintiff cannot prevail. See, e.g., Chase v. Gilbert, 499 A.2d 1203, 1212 (D.C. 1985).

When “there are absolutely no facts or circumstances from which a jury could reasonably find

. . . negligence was the proximate cause of injury, the matter would be a question of law for the

court.” Bragg v. Owens-Corning Fiberglas Corp., 734 A.2d 643, 648 (D.C. 1999).



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                                          ARGUMENT

I.      DEFENDANTS HAVE JUDGMENTAL IMMUNITY FOR THE BOTVINS’
        LAWYERS’ STRATEGIC DECISION TO PURSUE THE PENDING § 1605(A)(7)
        ACTION

        The pleadings correctly aver that Defendants have extensive experience and expertise in

handling litigation on behalf of victims of terrorism. Compl. ¶¶ 17-20. Plaintiffs complain about

the length of time it took to obtain their judgments, but lengthy litigation is not unusual in this

area. This Court has acknowledged about FSIA terrorism cases: “As plaintiffs well know, these

cases can go on for quite some time and often require the assistance of special masters to assist

the Court in culling through voluminous data” on the terrorism victims’ losses. In re Terrorism

Litig., 659 F. Supp. 2d at 104. The gravamen of the Complaint is that Defendants failed to pursue

§ 1605A claims early enough to obtain judgments for Plaintiffs to theoretically recover a portion

of those judgments from a privately negotiated settlement agreement in a separate enforcement

action. Compl. ¶ 115. This argument is offered as the focal point of a malpractice claim

notwithstanding the fact that Judge Urbina denied specific attempts by the Botvins’ Lawyers in

the underlying litigation to convert the case to a § 1605A claim, forcing the Botvins’ Lawyers to

exercise professional judgment about the best way to proceed against a backdrop of new and

untested legislation and other changing legal authority.

        Under D.C. law, Defendants’ assessment and evaluation of the § 1605A issues are

matters of professional judgment and for which they are entitled to immunity. Williams v.

Callaghan, 938 F. Supp. 46, 50-51 (D.D.C. 1996); Applegate v. Dobrovir, Oakes and Gebhardt,

628 F. Supp. 378, 384 (D.D.C. 1985) (strategy with respect to trial tactics generally held to be

within attorneys’ discretion); Mills v. Cooter, 647 A.2d 1118, 1121-22 (D.C. 1994)

(acknowledging the general principle that the conduct of litigation generally rests within the

discretion of the attorney and finding that “the second-guessing after the fact of [trial lawyer’s]

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professional judgment was not a sufficient foundation for a legal malpractice claim”).16 The

well-established principle that “an attorney is not liable for mistakes made in the honest exercise

of professional judgment” has given rise to the development of judgmental immunity for

lawyers, and the D.C. Court of Appeals accepted this rule as a “sound doctrine that is consistent

with District of Columbia law” in Biomet Inc., 967 A.2d at 665-66. In the context of legal

malpractice claims, the courts consistently recognize that attorneys should not be liable for a

mistake of judgment, when the proper course is open to reasonable doubt. In that regard,

litigation counsel has broad discretion concerning case strategy, which theories to plead, what

defenses to raise, litigation tactics, what evidence to present, just to name a few. Mallen &

Smith, Legal Malpractice, The Litigation Attorney §31:8 at 420-21 (2008).

        The judgmental immunity doctrine “prohibits hindsight attacks that are based on

unsettled legal questions ‘about which reasonable attorneys could disagree.’” Rocha v. Brown &

Gould, LLP, 101 F. Supp. 3d 52, 77 (D.D.C. 2015) (finding judgmental immunity applied to bar

legal malpractice claim based on forum selection decision); see also Macktal v. Garde, 111 F.

Supp. 2d 18, 22 (D.D.C. 2000) (“hindsight challenges” to “a protected judgment call in which

the attorney has broad discretion” must fail; granting motion to dismiss legal malpractice

complaint). Plaintiffs’ claim is the epitome of a hindsight attack, made only after knowledge of

how Judge Urbina saw the choice of law analysis, which was significantly impacted by the

intervening D.C. Circuit opinion in Oveissi, issued after the Botvins’ Lawyers elected to proceed,

as Judge Urbina ordered, under § 1605(a)(7). Had the Botvins’ Lawyers possessed a crystal ball


16
   See also Woodruff v. Tomlin, 616 F.2d 924, 930 (6th Cir. 1980) (“Neither counsel nor [the
Court] have found an American decision holding an attorney liable for the choice of trial tactics
or the good faith exercise of professional judgment.”); Hudson v. Windholz, 416 S.E.2d 120, 124
(Ga. 1992) (“Tactical decisions made during the course of litigation require, by their nature, that
the attorney be given a great deal of discretion.”).

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and perfect ability to predict the future, perhaps they would have employed a different strategy in

the underlying litigation. But this is not the standard Defendants must meet under D.C. law.

Mills, 647 A.2d at 1123 (“[R]etrospective disagreement cannot be the predicate for a finding of

legal malpractice.”).17 The relevant question is “whether that professional judgment was

reasonable at the time it was made, not whether a different strategy may have resulted in a more

favorable judgment” for the client. Biomet, 967 A.2d at 667.

        It is undeniable that, in 2022, with the benefit of 14 years of litigation on § 1605A claims,

terrorism victims and the lawyers who represent them have additional and better understanding

of the potential under these claims, and the legal authority governing them has developed and

become more settled. But this case does not involve recent litigation. Instead, Plaintiffs here

belatedly challenge in hindsight decisions made in 2008 to 2010. Those decisions are precisely

the type of strategic choice that the judgmental immunity doctrine protects. Against the backdrop

of uncertainty in the wake of § 1605A, application of the judgmental immunity doctrine is

especially appropriate in this case because “no claim of legal malpractice will be actionable for

an attorney’s reasoned exercise of informed judgment on an unsettled proposition of law.”

Biomet Inc., 967 A.2d at 668. In the District of Columbia, and indeed universally, “an attorney is

not expected, much less required, to accurately predict developments in the law,” which is ever-

evolving and changing. Id. (citing Mallen & Smith).18



17
  See also Denzer v. Rouse, 48 Wis. 2d 528, 180 N.W.2d 521, 525 (Wis. 1970) (“A successfully
asserted claim of legal malpractice needs more than the fact, standing alone, that a trial or
appellate court interpreted a document differently than the lawyer or his client presumed they
would. A lawyer would need a crystal ball, along with his library, to be able to guarantee that no
judge, anytime, anywhere, would disagree with his judgment or evaluation of a situation.”).
18
  See also MALLEN & SMITH, Legal Malpractice § 17.1, at 497 (4th ed. 1996) (“[T]he law is
not an exact science. What an attorney thinks the law is today may not be what a court decides
tomorrow[.]”); see also Davis v. Damrell, 119 Cal. App. 3d 883, 174 Cal. Rptr. 257, 261 (Cal.
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        The history of the underlying litigation, see supra at 5-15, shows that the Botvins’

Lawyers, including both the Defendants and their co-counsel, acted conscientiously at each step

to take advantage of the existing legal regime, navigate the confusion arising from Congress’s

creation of § 1605A, and maximize their clients’ potential judgment. Plaintiffs are highly critical

of the March 2008 decision to move in Botvin I to convert the claim from one under § 1605(a)(7)

to be under § 1605A. Far from “mak[ing] no sense” or being “a path of their own invention” as

alleged by Plaintiffs, Compl. ¶¶ 67-68,19 the efforts of the Botvins’ Lawyers to convert the

pending case to a § 1605A case by motion was an approach specifically sanctioned by the law

creating §1605A, and, although rejected in Botvin I by Judge Urbina, was one utilized in

numerous other cases. See Pub. L. No. 110-181, § 1083(c)(2). Indeed, in other FSIA terrorism

cases Defendants litigated with Mr. Perles and Perles Law Firm, P.C., as co-counsel – Bland v.

Islamic Rep. of Iran, No. 1:05-cv-02124 and Spencer v. Islamic Rep. of Iran, No. 1:06-cv-750 –

Defendants used the exact same “belt and suspenders” approach employed in the Botvin

Family’s claims. Defendants and Mr. Perles moved to convert both of those pending

§ 1605(a)(7) actions to § 1605A actions in March 2008 and filed a new action on behalf of each


App. 1st Dist. 1981) (“[T]he exercise of sound professional judgment rests upon considerations
of legal perception and not prescience.”).
19
   Strangely, Plaintiffs falsely allege that the Botvin Family’s March 21, 2008, motion to convert
“ignores the teachings of Simon” v. Rep. of Iraq, 529 F.3d 1187 (D.C. Cir. 2008) and was a path
“Simon had already held was wrong.” Simon was a D.C. Circuit opinion issued in June 2008,
three months after the Botvins’ Lawyers filed the motion. Thus, the teachings and holdings of
Simon were not available to the Botvins’ Lawyers in March 2008 when decisions had to be made
in the 60-day window following the creation of § 1605A. See In re Terrorism Litig., 659 F. Supp.
2d at 108 (“During those first two critical months of the statute’s existence, there was not
sufficient opportunity for the courts of this Circuit to examine § 1083 in written opinions that
counsel might have looked to in an effort to better understand the statute. Indeed, the leading
decision on this matter, Simon v. Iraq, was not decided until June 2008, nearly three months after
the 60 day window of opportunity had passed for most plaintiffs.”). Plaintiffs’ failure to
understand the timeline or appropriate context for their litigation further illustrates the dangers of
claims that rely on hindsight.

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of those plaintiffs. See In re Terrorism Litig., 659 F. Supp. 2d at 96-98; Compl. ¶ 50.

Interestingly, Plaintiffs cite Bland as an example of a case in which Defendants were “diligent in

their representation of their clients.” Compl. ¶ 76.

        Unlike the Botvin Family’s case before Judge Urbina, in Bland and Spencer, this Court

granted Defendants’ motions to convert the cases to § 1605A claims. In re Terrorism Litig., 659

F. Supp. 2d at 96-98. In this Court’s opinion, apparently not shared by Judge Urbina at the time

of the Botvins’ motion, judges should interpret the adverse-effect requirement of § 1083(c)(2)

liberally when considering whether to convert pending actions in view of the “broad remedial

purposes Congress sought to achieve” with § 1605A. Id. at 63-64. This Court considered the

rationale behind Judge Urbina’s decision to be “a crabbed reading of the statute.” Id. The

inconsistent approaches between judges of the same court further underscores the unsettled legal

landscape at the time the Botvin Family’s claims were pending. Unfortunately, different judges

ruled differently in different cases. Right or wrong, Judge Urbina’s decision denied Botvin I

retroactive treatment under § 1605A and governed future proceedings. Therefore, Botvin I

proceeded as filed, in accordance with Judge Urbina’s ruling, as a pass-through case with

jurisdiction based on the earlier statute, § 1605(a)(7), and relying on state common law causes of

action, as Cicippio-Puleo required. See In re Terrorism Litig., 659 F. Supp. 2d at 37 (“terrorism

cases that were filed prior to the enactment of [§ 1605A], and which do not qualify for

retroactive treatment under the new exception are governed by the prior statute, § 1605(a)(7).”).

        In the wake of Judge Urbina’s decision, the Botvins’ Lawyers needed to decide whether

to proceed with Botvin I or Botvin II. In Botvin I, they had accomplished service on Iran, secured

entry of default, and won a finding of “defendants’ guilt in perpetrating the attack in question.”

See Exhibit A, Botvin I Doc. 16. At this point, the Botvin I litigation seemingly required only an



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additional round of briefing on the applicable law for Judge Urbina to award damages and enter

judgment. See Exhibit A, Botvin I Doc 21 at 5 (directing “the plaintiffs to provide further

briefing regarding the applicable law in this case under D.C. choice of law provisions and how

the facts in this case satisfy each of the elements of the plaintiffs’ purported causes of action”

within two months). Moreover, on the basis of the recent Oveissi district court decision—on all

fours with the Botvin Family’s case—applying California law to FSIA terrorism claims of a

victim domiciled abroad where the terrorist attack had occurred, the Botvins’ Lawyers

reasonably believed the court would award judgment in Botvin I under California law using §

1605(a)(7) as a basis for jurisdiction.

        Botvin II, on the other hand, would have required the attorneys to essentially start over.

Faced with this strategic choice, the Botvins’ Lawyers made a reasonable professional judgment

to continue the original litigation, Botvin I, believing it to be the most expedient route to secure

and maximize a monetary award for the Botvin Family. Yet, after each motion and many months

of deliberation as to each of Defendants’ filings,20 Judge Urbina found additional legal issues

that repeatedly postponed entry of final judgment for the Plaintiffs. Defendants are not liable in

malpractice for the deliberations of a conscientious federal judge or for not perfectly predicting

his decisions, which were markedly different in Botvin I than they were in Campuzano. Nor may

Defendants be liable when Judge Urbina’s decisions diverged from other judges’ positions in this

District on interpretation of motions to convert pending actions to § 1605A claims and choice of

law analyses. Plaintiffs’ claims should be dismissed with prejudice pursuant to the judgmental

immunity doctrine.

20
  In a case alleging Defendants’ delay, it is important to note that, of the 7.5 years Botvin I was
pending from when the Complaint was filed in January 2005 to when judgment was entered in
July 2012, Defendants were awaiting judicial action on the Botvins’ Lawyers pending motions
for more than 5.5 years (2,076 days). Exhibit A, Botvin I; Timeline Appendix.

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II.     PLAINTIFF’S COMPLAINT MUST BE DISMISSED WITH PREJUDICE BASED
        UPON THE ABSENCE OF PROXIMATE CAUSATION.

        Plaintiffs’ malpractice claims against one law firm, but not all of the lawyers that

obtained $41 million in judgments for them, fail as a matter of law because proximate causation

is lacking. It is pure speculation whether the Botvin Family could have collected a portion of

their judgment from then-unknown and concealed Iranian assets resulting in an unforeseeable

settlement agreement in an uncertain, first-of-its-kind action. Try as Plaintiffs might to blame

Defendants, the fact that the Botvin Family has not yet collected more of their judgments against

Iran is not due to any malpractice by the Botvins’ Lawyers. Rather, it is the result of the fact that

Iran never voluntarily pays judgments against it, and there are insufficient Iranian assets in the

United States to satisfy the huge awards owed to American victims of Iranian-sponsored

terrorism.

        For these reasons, Plaintiffs cannot prove proximate cause for their speculative and novel

claim that they would have collected more of their judgments than they already have if the

Botvins’ Lawyers had made different professional judgments on their behalf, notwithstanding

Judge Urbina’s denial of the Botvins’ Lawyers’ motion to convert the § 1605(a)(7) claim to a

§ 1605A case. Any alleged injuries were not foreseeable, and it is speculative to say they were

proximately caused by any alleged act or omission of Defendants or their handling of the

underlying litigation.

        The law is clear that Plaintiffs must show that, but for Defendant’s negligence, they

sustained a legally cognizable injury. Chase, 499 A.2d at 1212. “This means that plaintiff must

establish not only the attorney’s negligence, but also that there should have been a better result in

the underlying lawsuit or matter.” Mallen & Smith, Legal Malpractice, §33.10, at 1035. In

addition, proving proximate cause requires Plaintiffs to prove that their allegedly injury was “a


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foreseeable result” of Defendants’ alleged negligence. Seed Co. v. Westerman, Hattori, Daniels

& Adrian, LLP, 961 F.3d 1190, 1196 (D.C. Cir. 2020) (legal malpractice claim failed because

loss of claim was not foreseeable result of attorney’s advice); Atlanta Channel, Inc. v. Solomon,

Civil Action No. 15-1823 (RC), 2020 U.S. Dist. LEXIS 130282, at *20-22 (D.D.C. July 23,

2020) (“Reasonable foreseeability also relates to proximate cause; if the harm is not foreseeable,

if it is so attenuated from the allegedly harmful action or inaction that a reasonable person could

not foresee it, the Court can rule as a matter of law that proximate cause cannot be established.”).

        In a legal malpractice case under D.C. law, dismissal is appropriate when proximate

cause is lacking or speculative on the face of the pleadings. James Pietrangelo, II v. Wilmer

Cutler Pickering Hale & Dorr, LLP, 68 A.3d 697, 709-10 (D.C. 2013) (factual allegations

regarding “but for” proximate causation must be enough to raise a right to relief above the

speculative level). In Pietrangelo, the D.C. Court of Appeals affirmed the dismissal of a legal

malpractice complaint when allegations of the “but for” outcome of the underlying case

depended on “mere speculation.” 68 A.3d at 709-10. There, allegations of misconduct in filing a

brief, even if true, did not proximately cause injury since the alleged outcome required

compound speculation. Specifically, the claim speculated that the Supreme Court would have

granted certiorari, found in plaintiff’s favor on the merits, remanded the case to the district court,

and issued an order granting plaintiff’s reinstatement or striking federal legislation regulating

treatment of homosexuals in the military. Id. As the Court stated:

        We have declined to find proximate cause where we would have to speculate
        about a legal result. See e.g. Chase v. Gilbert, 499 A.2d 1203, 1211-12 (D.C.
        1985). Such compound speculation is insufficient as a matter of law to support a
        claim for breach of fiduciary duty, and dismissal of Count 1 was proper.

68 A.3d at 710; Chase v. Gilbert, 499 A.2d 1203, 1212 (D.C. 1985) (“more is required than

speculation” to establish that an “attorney’s negligence caused a legally cognizable injury”).

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            A. Potential Collection from Hidden Iranian Assets Via A Settlement Agreement
               Was Not Foreseeable
        Even more significant than the hurdles victims of state-sponsored terrorism have

encountered while obtaining judgments against Iran are the numerous obstacles they face in

trying to collect on their awards. It is well known that “the plaintiffs in these actions face

continuous roadblocks and setbacks in what has been an increasingly futile exercise to hold Iran

accountable for unspeakable acts of terrorist violence.” In re Terrorism Litig., 659 F. Supp. 2d at

36. At the time of this September 2009 opinion,21 virtually all judgments against Iran (more than

$9 billion, at that time) “ha[d] gone unsatisfied,” despite best efforts of these plaintiffs to execute

on their judgments. Id. This is because there were, and still are, insufficient Iranian assets in the

United States that are amenable to attachment or execution. Id. at 41. In addition, there are

significant political and legal obstacles to attaching property belonging to a foreign nation. Id. at

49-58. Moreover, while Iran routinely does not appear to defend itself in U.S. civil litigation

under the FSIA terrorism exception, it or its agencies have at times appeared to defend against

collection efforts. For example, in Ministry of Defense and Support for the Armed Forces of the

Islamic Republic of Iran v. Elahi, 556 U.S. 366 (2009), Iran prevailed in preventing the

attachment of one of its assets in the United States.

        Consequently, at the time the Botvin Family’s claims proceeded, “the prospects for

recovery upon judgments entered in these cases [we]re extremely remote,” In re Terrorism Litig.,

659 F. Supp. 2d at 37, and it was “virtually impossible for the victims in these terrorism cases to


21
   Even with the resources being dedicated to this problem in the intervening decade, most
notably the establishment of the USVSST Fund in 2015, recovery of these judgments remains
incomplete. See, e.g., USVSST Fund, Payment Calculation Explanation for Non-9/11-Related
Claims, Aug. 2020, available at http://www.usvsst.com/docs/USVSST%20Fund%20Round
%20Three%20Payment%20Calculation%20NON-9-11_Aug%202020.pdf (last accessed Jan. 20,
2022) at p. 4 (noting non-9/11-related claimants have only been paid 23.69% of their
compensatory damages from the USVSST Fund after three rounds of payments).

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collect on the civil judgments entered against Iran in this Court.” Id. at 128. It is in this important

context that the Court must review the adequacy of Plaintiffs’ allegations of proximate cause.

Plaintiffs allege that by proceeding with Botvin I after Judge Urbina ruled in March 2009 that the

§ 1605(a)(7) claim could not be converted to a § 1605A claim – instead of abandoning Botvin I

to pursue Botvin II – Defendants lost the Botvin Family’s recovery based on a privately

negotiated settlement agreement several years later, in 2012, that did not include any parties who

did not already hold judgments against Iran.

        The relevant question for the proximate cause analysis is whether Defendants could have

foreseen in March 2009 that pursuing Botvin II could have permitted the Botvin Family to

participate in a then-non-existent settlement agreement in an as-yet unfiled judgment collection

action against deliberately-concealed assets. The answer, based on the pleadings and publicly

available court records, is a resounding “No.” Plaintiffs’ fail to allege anything about the

negotiations of this settlement agreement or Defendants’ knowledge of this settlement agreement

before it was entered on June 1, 2012. They fail to allege when success with turnover of the

Clearstream assets was reasonably foreseeable or what specific actions Defendants allegedly

should, or even could, have taken at that point to attempt to include the Botvin Family as a

party.22 When the settlement agreement was reached, it was one month before the default

judgment in Botvin I and ten months before the default judgment in Botvin III. Because the

Botvins had not yet received either of their judgments, they were unable to be parties to the

22
   Plaintiffs repeatedly reference that Defendants did represent a group of clients, the Bland
plaintiffs, who were joined in the Peterson litigation and became party to the settlement
agreement. Compl. ¶¶ 76, 87, 92. Again, Plaintiffs completely ignore the key differences
between distinct litigation. In the Bland case, judgment on all liability issues had already been
entered in 2006, the case was converted by motion to one under § 1605A in 2008, and judgment
was entered in 2011, all occurring in that case before the settlement agreement was reached, In
re: Terrorism Litig., 659 F. Supp. at 96, Compl. ¶ 113, and each of these facts distinguish the
Bland case from the underlying litigation for the Botvin Family.

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settlement agreement, and there was no known mechanism to add them to the group of claimants

who would share any potential recovery.

        Apparently realizing the foreseeability problem with their claims, Plaintiffs propose that

the Botvins’ Lawyers could have followed the same path as the plaintiffs in Wultz v. Islamic

Republic of Iran. Specifically, they claim that Defendants should have filed a post-settlement-

agreement motion to intervene in the Peterson litigation to secure a portion of the Clearstream

assets for the Botvins. Compl. ¶¶ 98-102. The Court will notice that the table in Plaintiffs’

Complaint showing the shares various plaintiffs recovered from the Peterson litigation omits the

Wultz plaintiffs. Compl. ¶ 108. This is because the Wultz plaintiffs’ settlement and ultimate

recovery from the Peterson litigation was $1 million.23 See e.g., 1:10-cv-04518-LAP at ECF #

1096, p. 23 (“Pursuant to a Settlement Agreement dated as of May 24, 2013 and entered into

between Sheryl Wultz and certain other plaintiffs (collectively, “Wultz”) and counsel for each of

the Plaintiffs, the Fund remitted payment to Wultz of $1 million in full settlement of Wultz’s

claims to share in the Fund’s distributions.”). Though it is entirely speculative to suggest the

Botvin Family could have had a similar result as the Wultz plaintiffs by making a similar motion

to intervene,24 Plaintiffs would not be better off than they are today with their over $2.7 million



23
  The Wultz plaintiffs obtained a compensatory damages judgment of over $32 million, see
Wultz v. Islamic Republic of Iran, 864 F. Supp. 2d 24, 44 (D.D.C. 2012), more than $20 million
more than the Botvin Family. Their judgment was entered May 10, 2012, i.e., before the
Peterson settlement agreement. Id.
24
  To the contrary, statements by the judge presiding over the Peterson litigation strongly suggest
that the Botvins could not have had success with the same course that the Wultz plaintiffs
pursued. In granting the Wultz plaintiffs’ motion to intervene, she cautioned:

        This conclusion should not give undue encouragement to other nonparty judgment
        creditors, however; the Intervenors here have threaded a very narrow needle. The
        Intervenors assert a good-faith position that they could not have moved to
        intervene any earlier. They filed for intervention prior to any merits decision or
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recovery from the USVSST Fund if they had received $1 million from the Peterson litigation

because that would have made them ineligible for payments from the USVSST Fund. See supra

at 13, fn. 12-13. This theory cannot save Plaintiffs’ Complaint from the failure to state a claim.

        Ultimately, the pleadings and court records show that the Botvins’ Lawyers made their

decision about how to proceed in light of Judge Urbina’s denial of the motion to convert the case

to one under § 1605A at a time when practically no one had succeeded in collecting any FSIA

terrorism judgments against Iran. While the victims’ bar pursued multiple avenues to enforce

judgments and obtain legislative fixes to various legal obstacles, given the little progress made

by 2009, one could hardly say that it was foreseeable that simply obtaining a judgment under

§ 1605A would make it quickly collectible or that steps should or even could have been taken at

that time to take advantage of an enforcement action that did not yet exist. Defendants had no

way to foresee at the time of the alleged negligence that assets in a New York bank account, not

held in Iran’s name but with at least two intermediaries involved, would be determined years

later to be Iranian assets. Defendants had no way to foresee in 2009 that more than a thousand

individuals with judgments against Iran would come together to privately negotiate a settlement

agreement in 2012 in lieu of litigating priority positions to govern distribution of any potential

recovery. They could not have predicted in 2009 how long it would take Judge Urbina to decide

various issues the court identified during the proceedings or that it would be important to have a

judgment entered before June 1, 2012, in order to participate in a settlement agreement that no

one had ever contemplated at that point. Defendants had no way to foresee in 2009 that, later in

2012, Congress would pass an unusual statute specifically identifying the Clearstream assets and

        entry of judgment. Given these unique facts, it is highly unlikely that any other
        proposed parties could intervene in this action.

See, 1:10-cv-04518-LAP at ECF # 398, p. 10.

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rendering them available to satisfy judgments. Plaintiffs’ allegations of proximate cause are

legally insufficient to state a claim as the alleged injury of not recovering from the Peterson

litigation was not a foreseeable result of the strategic decision, made in the professional

judgment of the highly experienced Botvins’ Lawyers to continue Botvin I in 2009. Plaintiffs’

legal malpractice theory fails for want of a crystal ball.

            B. Any Claim That the Botvin Family Would Have Fared Better by Pursuing the
               Separate § 1605A Complaint in 2009 Is Wholly Speculative

        As a general matter, the courts routinely reject as wholly speculative legal malpractice

claims arising out of alleged ‘inadequate’ settlements or lost settlement opportunities that

depended on a theory that a client would have obtained a ‘better settlement.’ In Macktal v.

Garde, 111 F. Supp. 2d 18, 222 (D.D.C. 2000), the district court dismissed such a claim on a

12(b)(6) motion and aptly observed that:

            Settlements necessarily involve compromise, as well as considerations
            evaluated in the thick of litigation, and so hindsight challenges to
            recommended settlements as being inadequate must fail if they are based only
            on speculation about what alternative results could have been achieved.

        Conclusory allegations that reflect a subsequent dissatisfaction with a settlement or lack

thereof, without more, do not make out a legal malpractice cause of action. See e.g. Venable LLP

v. Overseas Lease Grp., Inc., 2015 U.S. Dist. LEXIS 98650, *10 (D.D.C. July 27, 2015)

(dismissing on Rule 12(b)(6) motion as speculative a legal malpractice claim asserting that, but

for law firm’s alleged negligence, plaintiff would have recovered the $10 million it believed it

was entitled to instead of the $4 million settlement it voluntarily entered into); Belmar v. Garza

(In re Belmar), 319 B.R. 748, 758-759 (D.C. Bankr. 2004) (rejecting legal malpractice theory as

“pure speculation” as to “what might have happened” had plaintiffs retained greater settlement




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“leverage,” and observing that alleged impact that loss of leverage had on negotiations or on

subsequent events related to the bankruptcy proceedings was “grossly speculative.”).25

        Plaintiffs do not plausibly allege proximately caused damages because their claim

concerning a lost opportunity to recover by not participating in an unforeseeable multi-party

settlement agreement is wholly speculative, warranting dismissal with prejudice. See Rocha v.

Brown & Gould, LLP, 101 F. Supp. 3d at 77) (in legal malpractice case where plaintiff alleged

that the outcome of her case would have been different had it been filed in Maryland, court

agreed that “it is at best an issue of pure guess-work requiring the impermissible use of both

hindsight and speculation as to different legal results a court might reach.”).

        Plaintiffs’ malpractice claim cannot survive dismissal because proximate cause is lacking

as a matter of law. As in the long line of legal authority, any claim that the Botvin Family would

have recovered more from Iranian assets and be in a better position than they are today is pure

guess-work based on multiple hypothetical outcomes, which is impermissible compound

speculation. Even had the Botvins’ Lawyers handled the underlying litigation differently and

25
   Numerous other jurisdictions have concluded that claims of this nature are simply too
speculative and tenuous to support a malpractice action and the cases so holding are legion. See
e.g. Judd Burstein, P.C. v. Long, 797 F. App’x 585, 588 (2d Cir. 2019) (legal malpractice
counterclaim properly dismissed because former client did not plausibly allege proximately
caused damages because allegations concerning lost value of “wished-for settlement award” are
wholly speculative); Zee Co. v. Williams, Mullen, Clark & Dobbins, P.C., 871 F. Supp. 2d 498,
512 (E.D. Va. 2012) (legal malpractice claim fails for want of proof when a “jury would be left
to speculate whether any settlement, much less a specific settlement, would have resulted” absent
the alleged negligence); Schutz v. Kagan Lubic Lepper Finkelstein & Gold, LLP, 2013 U.S. Dist.
LEXIS 93762, *25-26, 2013 WL 3357921 (S.D.N.Y. July 2, 2013) (dismissing as “too
conjectural” and “speculative” legal malpractice claim that does not offer any concrete factual
allegations to support assertion that clients would have fared better had lawyers conducted
settlement negotiations differently); Maroulis v Sari M. Friedman, P.C., 153 A.D.3d 1250, 1252,
60 N.Y.S.3d 468, 470-471 (2017) (lawyers entitled to dismissal of malpractice claim because
plaintiff failed to plead that he would have obtained a more favorable divorce settlement);
Waithe v. Arrowhead Clinic, Inc., 491 F. App’x 32, 41 (11th Cir. 2012) (former clients could not
show that they would have obtained a better settlement if they had been represented by a
different lawyer).

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elected to pursue Botvin II after Judge Urbina denied the motion to convert Botvin I to a § 1605A

claim in March 2009, Plaintiffs offer nothing more than speculation to allege the Botvin Family

would have received judgments from Judge Urbina “in 2008 or 2009.” Compl. ¶ 97. As can be

seen from the timeline of the underlying litigation, litigants and their attorneys have little control

over the speed at which the court rules on pending motions, and judicial action in this case took

at least eight months and up to a year for decisions each time the Botvin Family filed a motion.

Efforts along the way to encourage expeditious rulings from Judge Urbina fell flat. See, e.g.,

Exhibit A, Botvin I Doc. 9, 19.

        Plaintiffs also offer nothing more than speculation to allege that each of the Plaintiff’s

hypothetical earlier judgments would have been entered in the same exact amounts they were

each awarded in 2012 and 2013. Compl. ¶ 108. If earlier judgments were possible, Judge Urbina

would have issued such rulings before the court transferred the case in April 2012. Based on

Judge Urbina’s various rulings, it is sheer speculation for Plaintiffs to presume he would have

seen the damages the same way. Moreover, considering the developing changes in the law, it is

rank speculation for Plaintiffs to claim they know how or when a judge would respond to a

particular argument.

        In addition, Plaintiffs only speculate that with an earlier judgment Plaintiffs necessarily

would have been a party to the settlement agreement of June 1, 2012, with the terms alleged.

Settlement agreements are the result of compromise and negotiation among those who are at the

negotiating table; and one cannot guess in retrospect what would have happened if another party

had participated. Would all of the other parties—at least 11 different groups with more than

1,000 total individuals with judgments—have agreed to include the Botvin Family as parties to

the privately negotiated settlement agreement? Would they have agreed on the same terms of pro



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rata sharing as reached without the Botvins’ involvement? Speculation is the only way to answer

these questions about the outcome of negotiations that never happened.

        As in Pietrangelo, Plaintiffs’ case is based upon compound speculation which is legally

insufficient, even at the initial Complaint stage, to make out “but for” proximate causation. In the

absence of a plausible allegation, let alone adequate factual support, that Plaintiffs claim that

they would have ‘fared better’ if the Botvins’ Lawyers had pursued different claims in a different

timeline is simply specious. Dismissal with prejudice is warranted as a matter of law.26

III.    THE COMPLAINT MUST BE DISMISSED FOR FAILURE TO JOIN ALL OF
        THE BOTVINS’ LAWYERS AS PARTIES UNDER RULE 19.

        The inadequacy of Plaintiffs’ claims and their inability to state a malpractice claim on the

facts in context of the underlying representation raises questions about the motives of the

malpractice suit. If Plaintiffs truly believed there was actionable malpractice, why would they

choose to sue only one law firm and some of the lawyers who represented them? This is

especially curious considering that all of the lawyers and law firms were on the retainer

agreement, shared equal responsibility for the representation, played a role in pursuing the

Botvin Family’s claims, and agreed to share equally in the fees. See Exhibit D. Regardless of

their motivations, Plaintiffs’ chose to sue only the Defendants, while omitting Perles Law Firm,

P.C., and Mr. Ellis.

        If the Court allows any of Plaintiffs’ claims to survive, Defendants submit this lawsuit

should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(7), which provides for the

dismissal of a complaint for failure to join a party under Rule 19:


26
   This motion applies equally to all three claims asserted in the Complaint: negligence (legal
malpractice), declaratory judgment relating to legal fees, and declaratory judgment relating to
expenses. The declaratory judgment claims are premised on the same allegations as the legal
malpractice claim, and the failure to state a claim for malpractice is fatal to the declaratory
judgment claims.
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                (a) Persons Required To Be Joined If Feasible.
                (1) Required Party. A person who is subject to service of process and
                whose joinder will not deprive the court of subject-matter jurisdiction
                must be joined as a party if: (A) in that person’s absence, the court
                cannot accord complete relief among existing parties; or (B) that
                person claims an interest relating to the subject of the action and is so
                situated that disposing of the action in the person’s absence may: (i)
                as a practical matter impair or impede the person’s ability to protect
                the interest; or (ii) leave an existing party subject to a substantial risk
                of incurring double, multiple, or otherwise inconsistent obligations
                because of the interest ….

                (b) When Joinder Is Not Feasible. If a person who is required to be
                joined if feasible cannot be joined, the court must determine whether,
                in equity and good conscience, the action should proceed among the
                existing parties or should be dismissed. The factors for the court to
                consider include: (1) the extent to which a judgment rendered in the
                person’s absence might prejudice that person or the existing parties;
                (2) the extent to which any prejudice could be lessened or avoided
                by: (A) protective provisions in the judgment; (B) shaping of relief;
                or (C) other measures; (3) whether a judgment rendered in the
                person’s absence would be adequate; and (4) whether the plaintiff
                would have an adequate remedy if the action were dismissed for non-
                joinder.

Federal Rule of Civil Procedure 19.

        This Circuit employs a three-step analysis in order to determine when “an action must be

dismissed because of the absence of a party required for a just adjudication: the court must

determine (1) whether the absent party is ‘required’ for the litigation according to the factors

enumerated in Rule 19(a); (2) whether the required party can be joined; and (3) if joinder is not

feasible, whether the action can nevertheless proceed in ‘equity and good conscience’ under Rule

19(b). Ali v. Carnegie Inst. of Wash., 306 F.R.D. 20, 25 (D.D.C. 2014).

        Analysis of the factors of Rule 19(a) here confirms that all of the Botvins’ Lawyers are

required parties for this litigation under Rule 19(a). The parties’ retainer agreement dated




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February 2004, Compl. ¶ 28; see also Exhibit D,27 makes clear that Defendants were only one-

third of the attorneys hired to represent the Botvin family. The retainer agreement reflects that

Perles Law Firm, P.C., and Mr. Ellis would each serve as co-counsel with Defendants in

pursuing claims resulting from Yael Botvin’s murder. Exhibit D. The retainer agreement

provides that all counsel “will give equal services and effort and will each receive 1/3 of

attorneys’ fees,” which are contingent on the amount recovered. Exhibit D.

        In addition to the express contractual language that each of the Botvins’ Lawyers would

give equal services in representation of the Botvins, by equally dividing the attorneys’ fees, the

Botvins’ Lawyers each assumed joint responsibility for the representation. See D.C. Rule of Prof.

Conduct 1.5(e)(1) (“A division of a fee between lawyers who are not in the same firm may be

made only if the division is in proportion to the services performed by each lawyer or each

lawyer assumes joint responsibility for the representation.”). By maintaining this joint

responsibility, the Perles Law Firm, P.C., and Mr. Ellis each have full responsibility to the

Botvin family and are each equally accountable for the alleged malpractice:

        The concept of joint responsibility is not, however, merely a technicality or
        incantation. The lawyer who refers the client to another lawyer, or affiliates
        another lawyer in the representation, remains fully responsible to the client, and is
        accountable to the client for deficiencies in the discharge of the representation by
        the lawyer who has been brought into the representation.

D.C. Rule of Prof. Conduct 1.5, cmt. 11.

        Because of this joint responsibility for the underlying litigation, the Botvins’ Lawyers

who were not joined in this action are required parties under Rule 19(a). The engagement

agreement obligated Perles Law Firm, P.C., and Mr. Ellis to be engaged in all aspects of the

27
   The Court may consider materials outside the pleadings on a Rule 12(b)(7) motion without
converting it into a motion for summary judgment. 16th & K Hotel, LP v. Commonwealth Land
Title Ins. Co., 276 F.R.D. 8, 12-13 (D.D.C. 2011). Thus, a party arguing dismissal for failure to
join a party under Rule 19 is permitted to provide “relevant extra-pleading evidence.” Id.

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representation, including drafting the pleadings and subsequent filings, collection of evidence,

and strategy and professional decision-making. Based on the common obligations they had for

the representation, Perles Law Firm, P.C., and Mr. Ellis are required parties under Rule 19.

        Without the other lawyers’ participation in this lawsuit, the Court will not be able to

accord complete relief between the parties. See Rule 19(a)(1)(A). Although at times it is

considered “not necessary for all joint tortfeasors to be named as defendants in a single lawsuit,”

see Temple v. Synthes Corp. 498 U.S. 5, 7 (1990), “a joint tortfeasor will be considered a

necessary party when the absent party ‘emerges as an active participant’ in the allegations made

in the complaint that are ‘critical to the disposition of the important issues in the litigation,’”

Laker Airways, Inc. v. British Airways, PLC, 182 F.3d 843, 848 (11th Cir. 1999). Here, given

their common obligations to the Botvin Family, all of the Botvins’ Lawyers are active

participants in the conduct that gives rise to Plaintiffs’ Complaint.28

        In addition, pursuant to the retainer agreement, all of the Botvins’ Lawyers share an

interest in any recovery of Plaintiffs’ judgments because they are entitled to a contingent fee on

any such recovery. Exhibit D. Plaintiffs also seek disgorgement of the Defendants’ portion of the

contingency fee, Compl. ¶¶ 121-22, and challenge a number of expenses that were incurred


28
  Because of the joint responsibility for the representation by the terms of the retainer agreement
and by virtue of the shared fee agreement, any liability finding as to one of the Botvins’ Lawyers
would apply to all, no matter what their actual role in the underlying litigation was. Comment 12
of D.C. Rule of Professional Conduct 1.5 makes this clear:
        The concept of joint responsibility does not require the referring lawyer to
        perform any minimum portion of the total legal services rendered. The referring
        lawyer may agree that the lawyer to whom the referral is made will perform
        substantially all of the services to be rendered in connection with the
        representation, without review by the referring lawyer. Thus, the referring lawyer
        is not required to review pleadings or other documents, attend hearings or
        depositions, or otherwise participate in a significant and continuing manner. The
        referring lawyer does not, however, escape the implications of joint responsibility,
        see Comment [11], by avoiding direct participation.

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during the representation, Compl. ¶¶ 124-28. Moreover, pursuant to their retainer agreement,

each of the law firms recently received in December 2021 one-third of the legal fees earned

pursuant to disbursements the USVSST Fund made to the Botvin Family, see supra at 15 fn. 13,

which is further evidence of each of the law firms’ obligation to have provided joint

representation and each’s joint responsibility to the Botvin Family. See Exhibit D.

        Disposing of the spurious and frivolous allegations in Plaintiffs’ Complaint without

Perles Law Firm, P.C., or Mr. Ellis’s involvement in this action would practically impair or

impede the ability of each to protect their interest in recovery of the contingency fee and

expenses from the underlying judgments. See Rule 19(a)(1)(B)(i). Resolving the malpractice

action in the absence of Perles Law Firm, P.C., or Mr. Ellis would also leave Defendants subject

to a substantial risk of double, multiple, or inconsistent obligations with respect to any liability

for the alleged malpractice, because without the absent attorneys in the case, any judgment in

this case would be unfairly borne by Defendants alone. See Rule 19(a)(1)(B)(ii).

        On knowledge, information, and belief, Perles Law Firm, P.C., with whom Defendants

have a long-standing relationship in working together on behalf of numerous American victims

of terror, is a D.C. corporation with individual attorneys barred in this Court. The firm’s joinder

in this action may be feasible, albeit regrettable, as Defendants have no desire to be at odds with

their long-standing and ongoing case partner and joint counsel. However, as Perles Law Firm,

P.C., is a required party, its joinder is required, and the failure of the Plaintiffs to name the Perles

Law Firm, P.C., as a defendant violates the rules of the Court and the interests of justice. Mr.

Ellis, however, lives in Jerusalem, Israel. He, too, is a required party who should be before this

Court in this action, although it may not be feasible to order joinder with regard to Mr. Ellis in

his individual capacity due to his personal circumstances and foreign domicile. Thus, with



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respect to any claims regarding malpractice, Defendants submit that this action should be

dismissed because a judgment rendered in Perles Law Firm, P.C.’s and Mr. Ellis’s absence will

prejudice Defendants, who shared joint responsibility for the underlying representation.

        If Defendants’ co-counsel cannot be joined, this malpractice action cannot proceed in

“equity and good conscience” considering the prejudice to Defendants in the absence of all of the

Botvins’ Lawyers. Analyzing the factors enumerated under Rule 19(b), there can be no lessening

or avoiding the prejudice through protective provisions or other measures, and Defendants would

be irreparably prejudiced if the action were allowed to proceed without all of the Botvins’

Lawyers as parties, each being required in the interest of justice, judicial economy, and in

accordance with Rule 19. Therefore, the failure to join Perles Law Firm, P.C., and Mr. Ellis must

be deemed irreparably prejudicial, and the Complaint should be dismissed for the Plaintiffs

conscious non-joinder of necessary and required parties.

                                        CONCLUSION

       For these reasons, coupled with those appearing to the court, Defendants The Heideman

Law Group, P.C. d/b/a Heideman Nudelman & Kalik, P.C., Richard Heideman, Noel Nudelman,

and Tracy Reichman Kalik, respectfully request the instant Motion be granted and that Plaintiffs’

Complaint be dismissed in its entirety and with prejudice, with an award of costs as may be

appropriate.




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                                     Respectfully submitted,

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